






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




JAIME CHARISA ALLRED A/K/A
JAIME CHARISA WINTERS,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-11-00163-CR



Appeal from the


355th District Court

of Hood County, Texas


(TC# CR11572)



MEMORANDUM OPINION


	Pending before the Court is a motion to dismiss filed by Appellant pursuant to Texas Rule
of Appellate Procedure 42.2(a).  The motion was filed before our decision in the case and was signed
by Appellant and his attorney.  Further, a duplicate copy of the motion has been forwarded to the trial
court clerk.  Because the motion complies with the requirements of Rule 42.2(a), we grant the
motion and dismiss the appeal.


						GUADALUPE RIVERA, Justice

August 17, 2011


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


